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                                    UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION


LADDY CURTIS VALENTINE and                            §
RICHARD ELVIN KING, individually and                  §
on behalf of those similarly situated,                §
                                                      §           Civil Action No. 4:20-cv-01115
Plaintiffs,                                           §
                                                      §
v.                                                    §
                                                      §
BRYAN COLLIER, in his official capacity,              §
ROBERT HERRERA, in his official capacity,             §
And TEXAS DEPARTMENT OF CRIMINAL                      §
JUSTICE,                                              §
                                                      §
Defendants.                                           §



                 DEFENDANTS’ OPPOSED MOTION TO TRANSFER CASE TO
                   JUDGE HOYT OR, IN THE ALTERNATIVE, PLACE CASE
                    INTO THE COURT’S RANDOM ASSIGNMENT SYSTEM


     TO THE HONORABLE JUDGE ELLISON:

            Pursuant to Federal Rule of Civil Procedure 7(b), Defendants file this motion requesting

     that this case be transferred back to Judge Kenneth Hoyt or, in the alternative, that it be placed

     back into this Court’s random assignment system.

                                      FACTUAL BACKGROUND

            When a lawsuit is filed in the Southern District of Texas, the Court randomly assigns that

     suit to a judge within the Division in which the suit is filed. See S.D. Tex. Local R. 83.6A (noting

     random assignment); Santos v. Rosenthal, 4:09cv904, 2009 WL 10714411, at *1 (S.D. Tex. June

     3, 2009). The Court’s procedures provide for the transfer of a suit to a judge handling “related”

     litigation. See Davis v. Galagaza, No. 19cv3119, 2019 WL 4757457, at *2 n.1 (S.D. Tex. Sept.
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30, 2019); Montemayor Seguy v. United States, 329 F. Supp. 2d 880 (S.D. Tex. 2004); cf. S.D.

Tex. Local R. 5.2 (“The parties must advise the Court of related current or recent litigation and

of directly affected non-parties.”).

       On their civil cover sheet, Plaintiffs indicated that this is related to other litigation pending

before Your Honor concerning temperatures in certain units of the Texas prison system. See Dkt.

No 1-1; Cole v. Collier, 4:14-cv-01698 (S.D. Tex.). The Court randomly assigned this case to

Judge Kenneth Hoyt. See Dkt. No. 2. Based on an agreement between Your Honor and Judge

Hoyt, Judge Hoyt transferred this case to Your Honor. Id.

                                           ARGUMENT

       “The fundamental rationale for the general rule requiring random assignment of cases is

to ensure greater public confidence in the integrity of the judicial process. The rule guarantees

fair and equal distribution of cases to all judges, avoids public perception or appearance of

favoritism in assignments, and reduces opportunities for judge-shopping.” Tripp v. Executive

Office of President, 196 F.R.D. 201, 202 (D.D.C. 2000). “It is particularly important for a district

utilizing a random selection process to jealously guard the integrity of the system from potential

abuse which attempts to circumvent the process.” Vaqueria Tres Monjitas, Inc. v. Rivera Cubano,

341 F. Supp. 2d 69, 72 (D.P.R. 2004). Thus, “attempts to manipulate the random case assignment

process are subject to universal condemnation.” United States v. Phillips, 59 F.Supp.2d 1178,

1180 (D. Utah 1999); accord, e.g., Lane v. City of Emeryville, 56 F.3d 71 (table), 1995 WL

298614, at *2 (9th Cir. 1995).

       Here, Plaintiffs have attempted to circumvent the random case assignment process by

incorrectly designating this case as related to Cole. The practice of assigning related cases to the

same judge is a limited exception to the general rule of random case assignment for purpose of


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enhancing “judicial economy.” E.g., Enbridge Pipelines (Illinois) L.L.C. v. Eck, No. 08cv3206,

2008 WL 5111248, at *1 (C.D. Ill. Dec. 3, 2008); Habitat Educ. Ctr., Inc. v. Kimbell, 250 F.R.D.

390, 396 (E.D. Wis. 2008); see also United States v. Stone, 411 F.2d 597, 599 (5th Cir. 1969).

The practice is not, however, intended to “foster[] judicial specialization,” Bd. of Sch. Directors

v. State of Wisconsin, 102 F.R.D. 596, 598 (E.D. Wis. 1984), or judge shopping, see, e.g., Access

Now, Inc. v. Allen Edmonds Corp., 17cv0959, 2017 WL 4023258, at *3 (W.D. Pa. Sept. 13, 2017).

Thus, similarity in legal theories or parties is not enough to justify departing from random case

assignment. *

       Related cases are those that rely on substantially similar evidence or arise out of the same

transaction or occurrence as a case currently pending. This case, which challenges Defendants’

response to the unprecedented COVID-19 pandemic, is not related to Cole, which concerns

temperatures in certain prison units, and is pending before Your Honor only for purposes of

enforcing a settlement agreement. The facts and legal issues of this case have nothing to do with

the settlement agreement in Cole, nor does this case involve substantially similar evidence or the

same transaction or occurrence at issue in Cole. To maintain the integrity and fulfill the purposes

of the Court’s random assignment system, this case should be transferred back to Judge Hoyt or

reassigned randomly.

I.     This Case and Cole Are Not Related.

       This Court’s local rules do not appear to define “related.” But the near-universal meaning

of the term given by courts that do define it is a pending case that relies on substantially similar


       *
         This Court’s current Division of Work Order provides that “[a] judge may handle matters
for another judge by consent.” General Order No. 2020-1 ¶ 32(B). But handling a matter for
another judge is distinct from transferring a case. See id. ¶¶ 19, 27 (designating certain Senior
Judges to “[r]eceive[] cases and other matters transferred by agreement from other judges”).


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evidence or arises out of the same transaction or occurrence. See, e.g., Mahdavi v. C.I.A., 898

F.2d 156 (table), 1990 WL 28139, at *1 (9th Cir. 1990) (discussing local rule); Shedlock v.

Spencer, 11cv11603, 2012 WL 1358645, at *1 (D. Mass. Apr. 17, 2012) (same); Rusnell v.

Marougi, No. 08cv12075, 2008 WL 4642800, at *2 (E.D. Mich. Oct. 20, 2008) (same); Ignatyev

v. Chertoff, No. 08cv1547, 2008 WL 1757841, at *2 (E.D. Pa. Apr. 16, 2008) (same); Brandt v.

Sebelius, No. 14cv0681, 2014 WL 2461909, at *2 (W.D. Pa. May 29, 2014) (same); Obert v.

Republic W. Ins. Co., 190 F. Supp. 2d 279, 289 (D.R.I. 2002) (“The practice of this Court is to

deem cases related when they arise out of the same events.”).

       This case and Cole do not meet that common and common-sense definition of the term

“related.” This case involves claims under the Eighth Amendment and the Americans With

Disabilities Act (ADA) challenging the adequacy of sanitary and disease-prevention measures

specifically related to spread of COVID-19. Dkt No. 1 ¶¶ 31-37, 47-48. Plaintiffs’ claims make

specific reference to Centers for Disease Control guidance on preventing the outbreak of COVID-

19 in prisons. Id. ¶ 30. Plaintiffs complain that Defendants have failed ensure social distancing

and other preventive measures. Id. ¶¶ 35-37. Plaintiffs ask for access to contraband like alcohol-

based hand sanitizer and bleach. Id. ¶ 82.

       Cole concerns none of these issues. The named plaintiffs in Cole are different. While the

Cole plaintiffs sued on Eighth Amendment and ADA grounds, none of their claims remain

pending. The parties settled Cole in 2018. While the case remains open, the only matter pending

before Your Honor is enforcement of the settlement agreement. See Final Order and Judgment

Approving Class Action Settlement and Attorneys’ Fees, Cole, et al. v. Collier, et al., No. 4:14-

cv-1698. Nothing in that settlement agreement refers to COVID-19, which did not exist at the

time of the agreement, hand sanitizer, social distancing, CDC guidelines or anything else


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substantially related to this case. And nothing in that agreement turns on the Eighth Amendment

or the ADA; its enforcement turns only on the terms agreed to by the parties in that case. There

is no overlap between Plaintiffs’ claims and the Cole settlement, let alone the kind of substantial

overlap that could justify departing from random assignment. If there were substantial overlap

between the claims asserted in this case and the claims asserted in Cole, Plaintiffs would have

sought relief for their COVID-19-related claims by moving in Cole to enforce the settlement

agreement.

       They did not do so, and they could not have done so, because the claims in the two cases

do not overlap, and the cases are not related. The Cole plaintiffs complained that in summer

months, “the apparent temperatures routinely exceed 100 degrees inside inmate housing areas”

of the Pack Unit. Third Amended Class Action Complaint ¶ 2, Cole, et al. v. Collier, et al., No.

4:14-cv-1698 (S.D. Tex. May 7, 2017). They alleged that the defendants subjected class members

“to extremely hot apparent temperatures inside prisoners’ housing areas in violation of the Eighth

and Fourteenth Amendments to the Constitution,” id. ¶ 3, and “refuse[d] to make reasonable

accommodations for these prisoners with disabilities, in violation of the Americans with

Disabilities Act and Rehabilitation Act,” id. ¶ 4. Their claims relied on heat-related deaths in other

prison units between 1998 and 2012, id. ¶ 92, and heat-related injuries to prisoners at the Pack

Unit, id. ¶¶ 114-118. The Cole plaintiffs sought an injunction requiring the defendants “to

maintain a safe indoor apparent temperature (e.g. maintaining a heat index of 88 degrees or lower)

inside each of the Pack Unit’s housing areas (calculated using the NWS heat index table).” Id. ¶

254. The claims in Cole arose out of events occurring years before the current pandemic and

relied on expert testimony regarding the risks posed by heat exposure and the availability and

efficacy of mitigation measures. See generally Memorandum and Order, Cole, et al. v. Livingston,


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et al., No. 4:14-cv-1968 (S.D. Tex. June 14, 2016) (summarizing evidence related to class

certification). Those claims have no relevance to Defendants’ efforts to prevent the introduction

and spread of COVID-19, or to the circumstances, if any, in which the Eighth Amendment or the

ADA compel state officials to allow contraband in state prisons. There is thus no substantial

overlap between the cases, which further shows they are not related. See, e.g., Rusnell, 2008 WL

4642800, at *2 (similar events involving same defendant were not related because “[t]he evidence

offered in each case involves different incidents on different dates”).

       To be sure, the Cole plaintiffs, like Plaintiffs here, sued on Eighth Amendment and ADA

grounds. But “[s]imilarity of legal theories and defendants” is not enough to make cases related.

Ignatyev, 2008 WL 1757841, at *2; accord, e.g., Tripp, 196 F.R.D. at 202 (cases were not related

despite asserting same right); Ukrainian Nat’l Ass’n of Jewish Former Prisoners of Concentration

Camps & Ghettos v. United States, 205 F.R.D. 102, 103-04 (E.D.N.Y. 2001) (cases were not

related despite involving similar legal issues). “[T]o permit such an interpretation of the related

case rule would undermine the important goals of” random assignment, “namely to avoid any

appearance of judge-shopping or favoritism in assignments and to assure the public that cases

were assigned on an impartial and neutral basis.” Tripp, 196 F.R.D. at 202 (D.D.C. 2000); accord,

e.g., United States v. Mavroules, 798 F. Supp. 61 (D. Mass. 1992). What is more, numerous judges

in the Houston Division of this Court have handled conditions-of-confinement cases, including

claims involving the Pack Unit. See, e.g., Borden v. Fort Bend County, 19cv551, 2020 WL

1321517 (S.D. Tex. Mar. 17, 2020); Hardin v. Tex. Dep’t of Criminal Justice, No. 18cv3063,

2019 WL 7037403, at *1 (S.D. Tex. Dec. 20, 2019); Collins v. Herrera, No. 18cv2940, 2019 WL

2176305 (S.D. Tex. May 20, 2019); Johnson v. Doe, No. 12cv2728, 2013 WL 3816727 (S.D.

Tex. July 22, 2013), aff’d, 582 Fed. Appx. 512 (5th Cir. 2014). Watson v. Quarterman, No.


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06cv3260, 2008 WL 552447 (S.D. Tex. Feb. 27, 2008). There is no reason to believe that any of

the judges in the Houston Division lack the wherewithal or expertise to adjudicate Plaintiffs’

claims in an economical manner.

II.     The Court Should Transfer the Case Back to Judge Hoyt.

        Because this case and Cole do not substantially overlap in facts, evidence, or specialized

legal questions, the cases are not related, and thus the transfer of this case to Your Honor was not

justified on that basis. As numerous cases demonstrate, the proper course of action in this

circumstance is to either send the case back to Judge Hoyt, to whom it was randomly assigned,

or return it to the Clerk’s office for random assignment. See, e.g., Trump v. Comm. on Ways &

Means, U.S. House of Representatives, 391 F. Supp. 3d 93, 97 (D.D.C. 2019); Ignatyev, 2008 WL

1757841, at *3; Ukrainian Nat’l Ass’n of Jewish Former Prisoners of Concentration Camps &

Ghettos, 205 F.R.D. at 104; Bd. of Sch. Directors, 102 F.R.D. at 598.

                                           Conclusion

        The Court should transfer this case to Judge Hoyt or return it to the Clerk’s office for

random assignment.

                                              Respectfully submitted.

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                            CERTIFICATE OF CONFERENCE

       I, CHRISTIN COBE VASQUEZ, Assistant Attorney General of Texas, certify that I
conferred with Jeff Edwards and John Keville, counsel for Plaintiffs, by telephone on this date
and Defendants have been unable to reach agreement as to the “related” nature of the Cole case
and the case at bar.


                                            / s/ Christin Cobe Vasquez
                                            CHRISTIN COBE VASQUEZ
                                            Assistant Attorney General




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                              NOTICE OF ELECTRONIC FILING

       I, CHRISTIN COBE VASQUEZ, Assistant Attorney General of Texas, certify that I have
electronically submitted a true and correct copy of the foregoing for filing in accordance with the
Court’s electronic filing system, on April 2, 2020.



                                              / s/ Christin Cobe Vasquez
                                              CHRISTIN COBE VASQUEZ
                                              Assistant Attorney General


                                CERTIFICATE OF SERVICE

       I, CHRISTIN COBE VASQUEZ, Assistant Attorney General of Texas, certify that a true
and correct copy of the above and foregoing Notice of Appearance of Counsel has been served
electronically upon all counsel of record via the electronic filing system of the Southern District
of Texas, on April 2, 2020.



                                              / s/ Christin Cobe Vasquez
                                              CHRISTIN COBE VASQUEZ
                                              Assistant Attorney General




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